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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

                                                    §
    DAVID E. MACK                                   §
            Plaintiff,                              §
                                                    §
    vs                                              §       Case. No. 4:18-cv-0006-ALM-CAN
                                                    §
    EXPERIAN INFORMATION                            §
    SOLUTIONS, INC., TRANS UNION LLC,               §
    EQUIFAX, INC.                                   §
           Defendants.                              §
                                                    §
                                                     
                     REPORT OF RULE 26(f) PLANNING CONFERENCE

         In accordance with the Court’s Order to Conduct Rule 26(f) Conference dated

 January 29, 2018, and the Federal Rules of Civil Procedure, David Mack (Plaintiff) and

 Experian Information Solutions, Inc., Trans Union LLC, and Equifax Inc. (Defendants),

 hereby submit this Report of Rule 26(f) Planning Meeting and state as follows:

         1.     Rule 26(f) Conference: The Rule 26(f) Conference was held on or before

 February 19, 2018 between Plaintiff David Mack pro se, Jay Johnson, counsel for Experian

 Information Systems, Inc., Kendall Carter, counsel for Equifax, Inc. and Kristin Marker, counsel

 for Trans Union LLC.

         2.     Description of the Case:

                A.      Plaintiff’s Factual and Legal Contentions: Plaintiff alleges that

 Experian Information Solutions, Inc., Trans Union LLC, and Equifax, Inc. willfully violated the

 Fair Credit Reporting Act (FCRA) 15 U.S.C. § 1681g by failing to provide his full consumer file

 disclosure after multiple requests to do so.




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                B.      Defendant Experian Information Solutions, Inc.’s Factual and Legal

 Contentions: Plaintiff alleges that Experian willfully violated 15 U.S.C. §1681g(a)(1) of the

 FCRA by failing to provide him with a “full consumer file disclosure” upon request. Experian

 denies that it violated the FCRA and avers that it provided Plaintiff with file disclosures

 containing all of the information that Experian is required to provide to him under the law.

                C.      Defendant Trans Union LLC’s Factual and Legal Contentions: As

 discovery has yet to commence, Trans Union cannot provide this Court with a complete factual

 background of the case as it relates specifically to Plaintiff. Upon information and belief, Trans

 Union has accurately reported credit information pertaining to the Plaintiff. At all relevant times,

 Trans Union maintained and followed reasonable procedures to avoid violations of the Fair

 Credit Reporting Act and assure maximum possible accuracy of the information concerning

 Plaintiff in preparing consumer reports related to Plaintiff. Trans Union has not acted with

 malice, negligent, willful or reckless intent to harm Plaintiff, nor with reckless or conscious

 disregard for the rights of Plaintiff, and Trans Union has fully complied with the FCRA. Trans

 Union makes this statement without waiving any defense and reserves the right to supplement

 this statement as the facts are developed.

                D.      Defendant Equifax Inc.’s Factual and Legal Contentions: Equifax Inc.

 asserts that it is not a consumer reporting agency as defined by the FCRA. Equifax Inc’s wholly

 owned subsidiary, Equifax Information Services LLC (“EIS”) is a consumer reporting agency as

 defined by the FCRA. EIS maintains reasonable policies and procedures to assure the maximum

 possible accuracy of the consumer reports it issues to third parties. EIS provided Plaintiff with a

 copy of his consumer file disclosure upon his request as required by the FCRA.




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           3.   Jurisdictional Basis: Federal Question Jurisdiction, 28 U.S.C. § 1331; 15 U.S.C.

 § 1681.

           4.   Parties:

                A. Plaintiff, David Mack

                B. Defendant, Experian Information Solutions, Inc.

                C. Defendant, Trans Union LLC

                D. Defendant, Equifax, Inc.

           5.   Related Cases: None.

           6.   Initial Disclosures: The parties will complete the initial mandatory disclosures by

 March 1, 2018 as required by this Court’s January 29, 2018 Order.

           7.   Proposed Scheduling Order Deadlines:

                (1)    Deadline for Motions to Transfer: March 28, 2018.

                (2)    Deadline to add parties: May 2, 2018.

                (3)    If the parties plan to mediate, state date parties propose: N/A

                (4)    Plaintiff’s disclosure of expert testimony pursuant to Fed. R. Civ. P. 26(a)(2)
                       and Local Rule CV-26(b): May 30, 2018.

                (5)    Deadline for Plaintiff to file amended pleadings: June 13, 2018.

                (6)    Defendant’s disclosure of expert testimony pursuant to Fed. R. Civ. P. 26(a)(2)
                       and Local Rule CV-26(b): June 27, 2018.

                (7)    Deadline to object to any other party’s expert witnesses is 6 weeks after
                       disclosure of an expert is made.

                (8)    Deadline for Defendant’s final amended pleadings: June 27, 2018.

                (9)    All discovery shall be commenced in time to be completed by
                       September 5, 2018.

                (10) Deadline for motions to dismiss, motions for summary judgment, or
                       other dispositive motions: October 3, 2018.

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               (11) Notice of intent to offer certified records: December 21, 2018.

               (12) Counsel and unrepresented parties are responsible for contacting
                       opposing counsel and unrepresented parties to determine how they will
                       prepare the Joint Final Pretrial Order and Joint Proposed Jury
                       Instructions and Verdict Form by December 21, 2018.

               (13) Video deposition designations are due by December 28, 2018.

               (14) Motions in limine are due by January 2, 2019.

               (15) Responses to motions in limine, objections to witnesses, deposition
                       extracts and exhibits listed in the pre-trial order are due by January 18,
                       2019.

               (16) The parties will file the proposed jury instructions/form of verdict by
                       January 18, 2019.


        8.     Mediation: The parties decline mediation in this matter.

        9.     Identity of Persons Expected to be Deposed:

               A. Plaintiff: Plaintiff will depose corporate representatives of each Defendant and

                   any other persons identified who have relevant information about consumer

                   information related to Plaintiff in Defendants’ files.

               B. Defendant Experian Information Solutions, Inc.: Plaintiff David Mack, any

                   third parties identified by Plaintiff as having some knowledge or information

                   regarding Plaintiff’s dispute, and experts.

               C. Defendant Trans Union LLC: Plaintiff David Mack, potential fact witnesses,

                   and Plaintiff’s experts.

               D. Defendant Equifax, Inc.:

                   Plaintiff David Mack

                   Any witness listed by Plaintiff in his Initial Disclosures, or otherwise.


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          10. Any Issues Relating to Disclosure or Discovery of Electronically Stored

 Information: None at this time.

          11.    Whether any Other Orders Should be Entered by the Court Pursuant to Fed.

 R. Civ. P. 26(c), 16(b) or 16(c): All parties will agree to a protective order regarding discovery.

          12.    Expected Length of Trial: The parties anticipate trial will take 3-4 days.

          13.    Attorneys Appearing on Behalf of the Parties at the Management

 Conference:

          David E. Mack appearing pro se

          For Experian Information Solutions, Inc.: Jay Johnson of Jones Day

          For Equifax, Inc.: Kendall W. Carter of King & Spalding LLP

          For Trans Union LLC: Kristin Marker of Strasburger & Price LLP

          14.    Any Other Matters Counsel Deem Appropriate for Inclusion in the

 Joint Conference Report: The parties do not consent to a trial before a magistrate

 judge.

 Dated: March 2, 2018.


                                               Respectfully Submitted,
                                               __/s/David E. Mack_____________
                                               David E. Mack pro se
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                                               _/s/Autumn Hamit Patterson______
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                                    _/s/Kendall W. Carter_____________
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                                    __/s/Kristin Marker______________
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that all counsel of record who are deemed to have

 consented to electronic service are being served with a copy of this document via the Court’s

 CM/ECF system per Local Rule CV-5(a)(3) on March 1, 2018.

        I further certify that I caused a copy of the foregoing document and a copy of the notice

 of electronic filing to be mailed to the following non-ECF participant on March 1, 2018:

                David E. Mack
                7720 McCallum Blvd No. 2099
                Dallas, TX 75252


                                                  /s/ Autumn Hamit Patterson
                                                 Autumn Hamit Patterson




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